                         Case: 3:15-cr-00054-wmc Document #: 202 Filed: 02/03/16 Page 1 of 7


                                                      DEFENDANT: AMADOU CAMARA
 AO 245 B (Rev. 3/01)(N.H. Rev.)                     CASE NUMBER: 0758 3:15CR00054-002                                            Judgment - Page 1




                                    United States District Court
                                          Western District of Wisconsin

              UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                                         (for offenses committed on or after November 1, 1987)

                                   V.                                   Case Number:           0758 3:15CR00054-002

                        AMADOU CAMARA                        Defendant's Attorney:             Gregory N. Dutch



The defendant, Amadou Camara, pleaded guilty to Count 1 of the information.

The defendant has been advised of his right to appeal.



ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                    Date Offense                                   Count
Title & Section            Nature of Offense                                        Concluded                                    Number(s)
21 U.S.C. §§ 841(a)(1) and Conspiracy to Distribute and Possess with Intent to      February 2015                                    1
846                        Distribute Marijuana, a Schedule I Controlled Substance,
                           a Class C Felony

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attorney of any material change in the defendant=s economic circumstances.


 Defendant's Date of Birth:                           1991                                                  February 2, 2016

 Defendant's USM No.:                   46741-424                                                   Date of Imposition of Judgment

 Defendant's Residence Address:         c/o Haddy and Habibou Camara
                                                                                                            /s/ William Conley
                                        Sun Prairie, Wisconsin 53590
                                        (

 Defendant's Mailing Address:           c/o Haddy and Habibou Camara                                        William M. Conley
                                                                                                             District Judge
                                        Sun Prairie, Wisconsin 53590


                                                                                                            February 3, 2016

                                                                                                              Date Signed:
                         Case: 3:15-cr-00054-wmc Document #: 202 Filed: 02/03/16 Page 2 of 7


                                                   DEFENDANT: AMADOU CAMARA
 AO 245 B (Rev. 3/01)(N.H. Rev.)                  CASE NUMBER: 0758 3:15CR00054-002                               Judgment - Page 2




                                                 IMPRISONMENT
As to Count 1 of the information, it is adjudged that the defendant is committed to the custody of the Bureau of Prisons for a
term of 30 months. I recommend that the defendant receive educational and vocational training and mental health and
substance abuse treatment. It is also recommended that the defendant be afforded prerelease placement in a residential
reentry center with work release privileges in the event that the defendant is not deported.

The U.S. Probation Office is to notify local law enforcement agencies, and the state attorney general, of defendant's release
to the community.

The defendant presents neither a flight risk nor a danger to the community. Therefore, execution of the sentence of
imprisonment is stayed until March 3, 2016, when he is to report to an institution to be designated by the Bureau of Prisons
between the hours of 10 a.m. and 2 p.m. His conditions of pretrial services supervision are continued until March 3, 2016.




                                                         RETURN
       I have executed this judgment as follows:




       Defendant delivered on                                                         to

at                                                     , with a certified copy of this judgment.



                                                                                      United States Marshal

                                                            By
                                                                                           Deputy Marshal
                         Case: 3:15-cr-00054-wmc Document #: 202 Filed: 02/03/16 Page 3 of 7


                                                       DEFENDANT: AMADOU CAMARA
 AO 245 B (Rev. 3/01)(N.H. Rev.)                      CASE NUMBER: 0758 3:15CR00054-002                              Judgment - Page 3




                                              SUPERVISED RELEASE
At least a three-year term of supervised release is required by statute. The term of imprisonment is to be followed by a
three-year term of supervised release subject to the standard conditions. In light of the nature of the offense and the
defendant’s personal history, I adopt the standard and special conditions proposed in the presentence report. Neither party
has raised any objections to the proposals.

Pursuant to the Sentencing Reform Act of 1984, the primary goals of supervised release are to assist defendants’ transition
into the community after a term of imprisonment and to provide rehabilitation. Supervision in this case will provide the
defendant with needed correctional programming, which will include rehabilitative programs to assist with community
reintegration; afford adequate deterrence to further criminal conduct; and protect the public from further crimes perpetrated
by the defendant.

The defendant is subject to conditions number 1 through 9 and 12 through 15, as outlined and justified in the appendix to the
presentence report. These conditions are warranted because the defendant was involved in a conspiracy that distributed
in excess of 100 kilograms of marijuana in Madison. The defendant and his codefendants were obtaining marijuana from a
source in California. The defendant recently traveled nationally and internationally. The defendant is from Gambia and
will be facing an immigration judge regarding his deportation status because of his instant conviction. The defendant
graduated from high school and has taken numerous courses at the University of Wisconsin - Madison. He does not have
fixed employment. He has a history of alcohol and marijuana use.


Defendant is to abide by the statutory mandatory conditions.

                                                Statutory Mandatory Conditions

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not commit another federal, state, or local crime.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm, destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Department and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Financial Penalties sheet of this judgment.


Defendant shall comply with the standard and special conditions that have been adopted by this court.

                                              Standard Conditions of Supervision

  1)       Defendant shall not leave the judicial district in which defendant is being supervised without the permission of the
           Court or probation officer;
                         Case: 3:15-cr-00054-wmc Document #: 202 Filed: 02/03/16 Page 4 of 7


                                                        DEFENDANT: AMADOU CAMARA
 AO 245 B (Rev. 3/01)(N.H. Rev.)                       CASE NUMBER: 0758 3:15CR00054-002                                 Judgment - Page 4



  2)       Defendant is to report to the probation office as directed by the Court or probation officer and shall submit a
           complete written report within the first five days of each month, answer inquiries by the probation officer, and follow
           the officer’s instructions. The monthly report and the answer to inquiries shall be truthful in all respects unless a
           fully truthful statement would tend to incriminate defendant, in violation of defendant’s constitutional rights, in which
           case defendant has the right to remain silent;

  3)       Defendant shall maintain lawful employment, seek lawful employment, or enroll and participate in a course of study
           or vocational training that will equip defendant for suitable employment, unless excused by the probation officer or
           the Court;

  4)       Defendant shall notify the probation officer within seventy-two hours of any change in residence, employer, or any
           change in job classification;

  5)       Defendant shall not purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or
           any paraphernalia related to such substances, except as prescribed by a physician;

  6)       Defendant shall not visit places where defendant knows or has reason to believe controlled substances are illegally
           sold, used, distributed, or administered;

  7)       Defendant shall not meet, communicate, or spend time with any persons defendant knows to be engaged in criminal
           activity or planning to engage in criminal activity;

  8)       Defendant shall permit a probation officer to visit defendant at home, work, or elsewhere at any reasonable time and
           shall permit confiscation of any contraband observed in plain view by the probation officer;

  9)       Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
           enforcement officer;

 10)       Defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
           without the permission of the Court;

 11)       As directed by the probation officer, defendant shall notify third parties of risks that may be occasioned by
           defendant's criminal record or personal history or characteristics. The probation officer may also take steps to
           confirm defendant's compliance with this notification requirement or provide such notifications directly to third
           parties.
                                                   Special Conditions of Release

12) Submit person, property, residence, papers, vehicle, or office to a search conducted by a U.S. probation officer at a
reasonable time and manner, whenever the probation officer has reasonable suspicion of contraband or of the violation of a
condition of release relating to substance abuse or illegal activities; failure to submit to a search may be a ground for
revocation; defendant shall warn any other residents that the premises defendant is occupying may be subject to searches
pursuant to this condition;

13) Participate in mental health referral, assessment and treatment as approved by the supervising U.S. probation officer
and comply with all rules, regulations and recommendations of the mental health agency or its representative to the extent
approved by the supervising U.S. probation officer. If defendant is eligible for funding from any source to cover the cost of
treatment, defendant is to make reasonable efforts to obtain such funding. Participation in treatment does not require
payment by defendant unless it is clear defendant can afford it;

14) Comply with the rules and regulations of the U.S. Immigration and Customs Enforcement under the United States
Department of Homeland Security and if deported or excluded from the United States, either voluntarily or involuntarily, not
reenter the United States without legal permission. If reentry into the United States occurs, defendant shall report to the
nearest probation office within 72 hours;
                         Case: 3:15-cr-00054-wmc Document #: 202 Filed: 02/03/16 Page 5 of 7


                                                   DEFENDANT: AMADOU CAMARA
 AO 245 B (Rev. 3/01)(N.H. Rev.)                  CASE NUMBER: 0758 3:15CR00054-002                              Judgment - Page 5



15) Participate in substance abuse treatment. If defendant is eligible for funding from any source to cover the cost of
treatment, defendant is to make reasonable efforts to obtain such funding. Participation in treatment does not require
payment by defendant unless it is clear defendant can afford it. Defendant shall submit to drug testing beginning within 15
days of defendant’s release and 60 drug tests annually thereafter. The probation office may utilize the Administrative Office
of the U.S. Courts’ phased collection process; and

16) Provide the supervising U.S. probation officer any and all requested financial information, including copies of state and
federal tax returns.




ACKNOWLEDGMENT OF CONDITIONS

I have read or have had read to me the conditions of supervision set forth in this judgment, and I fully understand them. I
have been provided a copy of them. I understand that upon finding a violation of probation or supervised release, the Court
may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.



Defendant                                                Date


U.S. Probation Officer                                   Date
                         Case: 3:15-cr-00054-wmc Document #: 202 Filed: 02/03/16 Page 6 of 7


                                                          DEFENDANT: AMADOU CAMARA
 AO 245 B (Rev. 3/01)(N.H. Rev.)                         CASE NUMBER: 0758 3:15CR00054-002                      Judgment - Page 6




                                           CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of payments set forth below.

                                   Count    Assessment              Fine                     Restitution

                                     1      $100.00                 $0.00                    $0.00

                                   Total    $100.00                 $0.00                    $0.00




It is adjudged that the defendant is to pay a $100.00 criminal assessment penalty to the Clerk of Court for the Western
District of Wisconsin immediately following sentencing.

The defendant does not have the means to pay a fine under § 5E1.2(c) without impairing his ability to support himself upon
release from custody.
                         Case: 3:15-cr-00054-wmc Document #: 202 Filed: 02/03/16 Page 7 of 7


                                                     DEFENDANT: AMADOU CAMARA
 AO 245 B (Rev. 3/01)(N.H. Rev.)                    CASE NUMBER: 0758 3:15CR00054-002                             Judgment - Page 7




                                          SCHEDULE OF PAYMENTS
Payments shall be applied in the following order:
                                                        (1) assessment;
                                                        (2) restitution;
                                                        (3) fine principal;
                                                        (4) cost of prosecution;
                                                        (5) interest;
                                                        (6) penalties.


The total fine and other monetary penalties shall be due in full immediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgment imposes a period of
imprisonment, payment of monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons= Inmate Financial Responsibility Program,
are made to the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

In the event of a civil settlement between victim and defendant, defendant must provide evidence of such payments or
settlement to the Court, U.S. Probation office, and U.S. Attorney=s office so that defendant=s account can be credited.
